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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                            CRIMINAL NO. 11-CR-20551

                           Plaintiff,                 HON. ROBERT H. CLELAND
 v.

 D-18 ADELFO PAMATMAT, M.D.,

                           Defendant.
                                          /

                   EXPARTE MOTION AND ORDER TO
             FILE GOVERNMENT’S RESPONSES OUT OF TIME

       The responses by the United States to the defendant’s Motion to Dismiss

 Counts One and Two of Second Superseding Indictment and Motion To Suppress

 Alleged Inculpatory Statements of Defendant, Dr. Adelfo Pamatmat were due to be

 filed on Monday, January 27, 2015. The United States requests a one day extension

 of time to file a response, due to delays caused by the final editing of the responses.

                                               Respectfully submitted,

                                               BARBARA L. McQUADE
                                               United States Attorney

                                               s/ WAYNE F. PRATT
                                               Assistant United States Attorney
                                               211 West Fort St., Ste. 2001
                                               Detroit, MI 48226
                                               Phone: (313) 226-9583
                                               Email: wayne.pratt@usdoj.gov
 Dated: January 27, 2015                       Bar No.: P32528
Case 2:11-cr-20551-RHC-MKM ECF No. 946, PageID.4375 Filed 01/28/15 Page 2 of 2




                         CERTIFICATE OF SERVICE

       I hereby certify that on Tuesday, January 27, 2015, I caused a copy of the

 foregoing to be served on all counsel of record using the Court’s ECF filing

 system.

                                            s/ WAYNE F. PRATT
                                            Assistant United States Attorney
                                            211 West Fort Street, Ste. 2001
                                            Detroit, MI 48226
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                                            Email: wayne.pratt@usdoj.gov
                                            Bar No. P32528



 IT IS SO ORDERED.
                               s/Robert H. Cleland
                               HON. ROBERT H. CLELAND
                               United States District Court Judge
 Entered: January 28, 2015




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